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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                     Plaintiffs,                                 4:15CR3083
      vs.
                                                                   ORDER
SCOTT W. RINDONE,
                     Defendants.


      The defendant will be participating in pretrial diversion.              The government
therefore moves to continue the progression and trial of this case. (Filing No. 45). Based
on the showing set forth in the motion, the court finds the motion should be granted.
Accordingly,

      1)       The government's motion, (filing no. 45), is granted, and the trial of this
               case is continued pending further order of the court.

      2)       For the reasons set forth in the motion, the court finds the ends of justice
               served by granting the parties’ request to continue progression and trial of
               this case outweigh the interests of the public and the defendant in a speedy
               trial, and the additional time arising as a result of the granting of the
               motion, the time between today's date and the completion of this matter,
               shall be deemed excluded in any computation of time under the
               requirements of the Speedy Trial Act. 18 U.S.C. § 3161(h)(7).

      3)       A status conference will be held before the undersigned magistrate judge on
               November 1, 2017 at 9:00 a.m. in Courtroom 2, Federal Building,100
               Centennial Mall North, Lincoln, Nebraska. This conference will be
               cancelled if this case is dismissed prior to the scheduled hearing.

      4)       The clerk shall close this case for administrative purposes.

      April 5, 2016.
                                                  BY THE COURT:
                                                  s/ Cheryl R. Zwart
                                                  United States Magistrate Judge
